                                           _______
                                ___________




           Case 2:09-cr-00679-SDW              Document 33        Filed 12/28/09       Page 1 of 2 PageID: 76

                    Case 2:O9cr-0O679-SDW Document 32-1               Filed 12/22/09 Page 1 of 2




                                       UNITED STATES DISTRICT COURT
                                      FOR TIlE DISTRICT OF NEW JERSEY



            UNITED STATES OF AMERICA                            CRIMINAL ACTION

                                                                CRJMIIvAL N0: 09-679
                                          vs


                                                                ORDER MODiFYING CONDITIONS OF
                                                                PRETRIAL RELEASE
            YACIEL MARAGOTO,
            DefendanL




                    This matter having been opened to the Court upnn an application by Kathleen M.

             Theurer, Esq, appearing for Defendant Yaciel Maragoto, for an Order modifying the conditions

             of Defendant’s pretrial release, and with Juan Rios of the Southern District of Florida Pretrial

             Services, and with Assistant United States Attorney Brooke Carey having notice of said

             application, and having found no objections to the one-time modification of Pretrial Release, and

             for good and sufficient cause shown;

                    It is on this                     day of December, 2009;

                    ORDERED, that the conditions of Defendant Yaciel Maiagoto’s pretrial release shall be

             modifie4 as fi,llows:

                     1.     Dcfcndant shall be permitted to leave his premises      Thursday, December 24,

                            2009 in order to visit the home of his Aunt Mansol Lirnires, to celebrate the




L[t/t’1   3Eid                                 NOGNOD 1fld                        LO3369TØ             :oo   6o0/E/.!
        Case 2:09-cr-00679-SDW              Document 33            Filed 12/28/09     Page 2 of 2 PageID: 77
                                                                       Filed 12122109 Page 2 of 2
                Case 2:09-cr-0067-SDW Document 32-1


                                                                              Lane Hialeah, FL, 33018-1308
                        Christmas holiday, located at 9059 NW 152w
                                                                        nosa, who servcs as thc thrd-party
                        accompanied by his mother Natalia Espi

                        custodian for defendant’s pretrial release.



                                                                            aforementioned visit at 3 pm. on
                2.      Defendant shall be permitted to make the
                                                                                 on December 24, 2009W
                         December 24, 2009 and will return home at 10 pm.



                                                                    conditions of pretrial supervised release.
                 It is furthcr ORDERED that the remaining
                                                                  effect.
          including electronic monitoring, shall remain in full



                                  /



          HON. SUSANW1èNrJ.r




                         CAif&
                                      M1Day
               Ass isTMT OrJ1E6 SThiS




                                                            -2-




LL3/O   3E)d                               NOGNOD 1i1d                              LO9969tO         Et3Q        6G/Sz/aT
